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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
 Case No.         CV 16-6599-JGB(Ex)                                            Date      December 22, 2020
 Title            GUILLERMO ROBLES v. DOMINO’S PIZZA LLC




 Present: The Honorable          Charles F. Eick, United States Magistrate Judge
                Stacey Pierson                                None                               None
                Deputy Clerk                        Court Reporter / Recorder                   Tape No.
           Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                            None                                                   None
 Proceedings:                (IN CHAMBERS)


        The Magistrate Judge is in receipt of Plaintiff’s “Motion to Compel etc.” (“the Motion”), filed
December 21, 2020. According to the proposed order filed with the Motion, the Motion seeks an order
requiring an additional production of documents (to occur more than three weeks before the noticed
hearing on the Motion), requiring additional deposition testimony and allowing an indefinite extension
of the deadline for filing supplemental papers in connection with the motion for summary judgment
pending before the District Judge.

        To the extent the Motion seeks additional discovery, the Motion is untimely, absent further order
of the District Judge. See July 15, 2020 text entry setting a September 21, 2020 discovery cut-off.
Moreover, even if the Motion were timely, the Magistrate Judge would deny the Motion because
Plaintiff failed to demonstrate full compliance with Local Rule 37. In particular, the emails filed with
the Motion fail to demonstrate that Plaintiff followed proper procedure under Local Rule 37-1.

        To the extent the Motion seeks an extension of the deadline for filing supplemental papers in
connection with the summary judgment motion pending before the District Judge, Plaintiff should seek
such relief from the District Judge.

         Accordingly, the Motion is denied without prejudice.



cc:      Judge Bernal
         All Counsel of Record                                                  Initials of Deputy Clerk     SP



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